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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                    *
                                             *
         v.                                  *    CRIMINAL NO. LKG-25-6
                                             *
 THOMAS C. GOLDSTEIN,                        *
                                             *
                 Defendant                   *
                                             *
                                          *******
                                   JOINT STATUS REPORT

        The United States of America respectfully submits this joint status report in response to the

Court’s Order on January 28, 2025 (ECF No. 16). Defendant has reviewed this joint status report

and consents to its filing.

        Status of Discovery

        The parties have had several discussions regarding discovery. On February 4, 2025, the

Government filed a consent motion for a protective order to facilitate discovery production. ECF

No. 23. The Government is preparing discovery, which will be voluminous.

        Trial, Pretrial Motions, and Motions in Limine

        The parties respectfully request more time to engage in the pretrial process before

scheduling trial, and before identifying potential pretrial motions and motions in limine. The

Defendant is currently working on finalizing the arrangements of his defense counsel in this case.

An attorney inquiry hearing has been scheduled for February 12, 2025 before Chief Magistrate

Judge Sullivan. ECF No. 15. In addition, the parties need more time for the Government to
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produce discovery, for Defendant to review discovery, and for the parties to engage in any plea

discussions or prepare for pretrial motions and trial.

       Pending Motions

       On January 31, 2025, the Government filed a consent motion to exclude speedy trial time

through March 3, 2025. ECF No. 22. On February 4, 2025, the Government filed a consent motion

for a protective order to facilitate discovery production. ECF No. 23. Contemporaneous with this

joint status report, the Government is filing a consent motion to continue the initial status

conference scheduled for February 6, 2025 and pretrial motions deadline scheduled for February

17, 2025. The parties respectfully request to submit a joint status report by March 3, 2025.



                                                         Respectfully submitted,

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                                                         United States Attorney
                                                         /s/
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